              Case:20-80059-jwb       Doc #:118 Filed: 03/17/2022        Page 1 of 2




                       UNITED STATES BANKRUPTCY COURT
                  WESTERN DISTRICT OF MICHIGAN (GRAND RAPIDS)

 In Re:                                              )       Case No.: 19-00613-jwb
                                                     )       Chapter 7
 FULL SPECTRUM MANAGEMENT, LLC,                      )       Hon. James W. Boyd
                                                     )
          Debtor.                                    /
                                                     )
 INDEPENDENT BANK, derivatively for and on           )       Adv. Pro. No.: 20-80059-jwb
 behalf of KELLY M. HAGAN, Chapter 7 Trustee         )
 for the estate of Full Spectrum Management, LLC,    )       Hon. James W. Boyd
                                                     )
          Plaintiff,                                 )
                                                     )        ORDER REGARDING
 v.                                                  )        INTERESTED PARTY PADGETT
                                                     )        BUSINESS SERVICES’ MOTION
 MARK D. NOSS, an individual, MARK D. NOSS, )                 FOR COSTS, FEES AND
 O.D., L.L.C., a Michigan limited liability company, )        EXPENSES
 d/b/a FULL SPECTRUM EYECARE, MDN                    )
 DEVELOPMENT, LLC, a Michigan limited                )
 liability company, SMART SCHOOLS                    )
 MANAGEMENT, INC., a former Michigan                 )
 corporation, SMART SCHOOLS MANAGEMENT )
 OF BAY CITY, LLC, a former Michigan limited         )
 liability company, SMART SCHOOLS, INC., a           )
 former Michigan corporation and STEVEN              )
 INGERSOLL, an individual, jointly and severally,    )
                                                     )
          Defendants.


                           PRESENT: HONORABLE JUDGE BOYD
                               United States Bankruptcy Judge

          This matter having come before this Honorable Court based upon Interested Party Padgett

Business Services’ Motion for Discovery Sanctions (AP Dkt. No. 109), Corrected Motion (AP

Dkt. No. 111) and Supplemental Brief in Support of its Motion for Costs, Fees and Expenses (AP

Dkt. No. 115); the Plaintiff, Independent Bank’s, derivatively for and on behalf of Kelly M. Hagan,

Chapter 7 Trustee for the estate of Full Spectrum Management, LLC, Brief in Opposition (AP Dkt.
              Case:20-80059-jwb      Doc #:118 Filed: 03/17/2022      Page 2 of 2




 No. 116); and the Court having reviewed the same, having brought the matter on for hearing and

 being otherwise advised in the premises:

         NOW, THEREFORE, IT IS HEREBY ORDERED that for the reasons stated by the

 Court on the record, the Padgett Business Services’ Motion is hereby DENIED.

                                       END OF ORDER




IT IS SO ORDERED.

Dated March 17, 2022
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